        Case 19-16737-amc              Doc 34 Filed 06/05/20 Entered 06/06/20 00:39:14                               Desc Imaged
                                            Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 19-16737-jkf
Tamara C. Miller                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: John                         Page 1 of 1                          Date Rcvd: Jun 03, 2020
                                      Form ID: 155                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 05, 2020.
db             +Tamara C. Miller,   908 Green Street,   Norristown, PA 19401-3914

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 05, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 3, 2020 at the address(es) listed below:
              DAVID B. SPITOFSKY    on behalf of Debtor Tamara C. Miller spitofskybk@verizon.net,
               spitofskylaw@verizon.net
              JAMES RANDOLPH WOOD    on behalf of Creditor   Municipality of Norristown jwood@portnoffonline.com,
               jwood@ecf.inforuptcy.com
              SCOTT F. WATERMAN (Chapter 13)    ECFMail@ReadingCh13.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
                                                                                             TOTAL: 4
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                                   Certificate of Notice Page 2 of 2




                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Tamara C. Miller
             Debtor(s)                                                    Chapter: 13
                                                                          Bankruptcy No: 19−16737−jkf
_____________________________________________________________________________________________
                   ORDER CONFIRMING PLAN UNDER CHAPTER 13
    AND NOW, this June 3, 2020 upon consideration of the plan submitted by the debtor
under chapter 13 of title 11 U.S.C. and the standing trustee's report which has been filed; and it
appearing that:


     A. a meeting of creditors upon notice pursuant to 11 U.S.C. 341 (a) and a confirmation
hearing upon notice having been held;
      B. the plan complies with the provisions of 11 U.S.C. 1322 and 1325 and with other
applicable provisions of title 11 U.S.C.;
     C. any fee, charge or amount required under chapter 13 of title 28 or by the plan, to be paid
before confirmation, has been paid;
WHEREFORE, it is ORDERED that the plan is CONFIRMED.
                                                                  Jean K. FitzSimon
                                                                  Judge ,
                                                                  United States Bankruptcy Court
                                                                                                                  31
                                                                                                            Form 155
